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                                 #:37900


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        League, NFL Enterprises LLC, and the
15      Individual NFL Clubs
16                                 UNITED STATES DISTRICT COURT
17                               CENTRAL DISTRICT OF CALIFORNIA
18
        IN RE: NATIONAL FOOTBALL                       Case No. 2:15-ml-02668−PSG (JEMx)
19
        LEAGUE’S “SUNDAY TICKET”                       DECLARATION OF RAKESH N.
20      ANTITRUST LITIGATION                           KILARU IN SUPPORT OF THE
        ______________________________                 REPLY MEMORANDUM IN
21                                                     SUPPORT OF NFL
                                                       DEFENDANTS’ MOTION FOR
22      THIS DOCUMENT RELATES TO:                      SUMMARY JUDGMENT
23      ALL ACTIONS                                    Judge: Hon. Philip S. Gutierrez
                                                       Date: October 27, 2023
24
                                                       Time: 1:30 p.m.
25                                                     Courtroom:
                                                             First Street Courthouse
26
                                                             350 West 1st Street
27                                                           Courtroom 6A
                                                             Los Angeles, CA 90012
28
       Case No. 2:15-ml-02668-PSG (JEMx)      Declaration of Rakesh N. Kilaru in Support of the Reply Memorandum in
                                              Support of NFL Defendants’ Motion for Summary Judgment
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1             I, Rakesh N. Kilaru, declare as follows:
2             I am a partner at the law firm of Wilkinson Stekloff LLP and represent the NFL
3      Defendants in this litigation.        I submit this declaration in support of the Reply
4      Memorandum in Support of the NFL Defendants’ Motion for Summary Judgment. I
5      have personal knowledge of the facts set forth in this declaration and, if called as a
6      witness, could and would testify competently thereto. I am admitted pro hac vice to
7      practice before the United States Central District of California in this litigation.
8         1. Attached hereto as Exhibit 44 is a true and correct copy of transcript excerpts
9              from the deposition of Plaintiff expert Daniel A. Rascher, taken on June 28, 2023.
10        2. Attached hereto as Exhibit 45 is a true and correct copy of the NFL-NFLPA
11             Collective Bargaining Agreement dated March 15, 2020, produced by the NFL
12             with the Bates number NFL_0013148.
13        3. Attached hereto as Exhibit 46 is a true and correct copy of Meeting Minutes of
14             the May 27, 1970 NFL Executive Session, produced by the NFL with Bates
15             number NFL_0508257.
16        4. Attached hereto as Exhibit 47 is a true and correct copy of transcript excerpts
17             from the 30(b)(1) deposition of Fox Sports witness Lawrence Jones, taken on
18             July 8, 2022.
19        5. Attached hereto as Exhibit 48 is a true and correct copy of transcript excerpts
20             from the 30(b)(1) deposition of CBS witness Sean McManus, taken on July 14,
21             2022.
22        6. Attached hereto as Exhibit 49 is a true and correct copy of transcript excerpts
23             from the 30(b)(1) deposition of NFL witness Paul Tagliabue, taken on June 2,
24             2022.
25        7. Attached hereto as Exhibit 50 is a true and correct copy of transcript excerpts
26             from the 30(b)(1) deposition of DirectTV witness James Dyckes, taken on June
27             30, 2022.
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         Case No. 2:15-ml-02668-PSG (JEMx)        Declaration of Rakesh N. Kilaru in Support of the Reply Memorandum in
                                                  Support of NFL Defendants’ Motion for Summary Judgment
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1         8. Attached hereto as Exhibit 51 is a true and correct copy of transcript excerpts
2              from the 30(b)(1) deposition of DirectTV witness Robert Thun, taken on
3              November 9, 2022.
4         9. Attached hereto as Exhibit 52 is a true and correct copy of transcript excerpts
5              from the 30(b)(1) deposition of NFL witness Brent Lawton, taken on June 22,
6              2022.
7         10. Attached hereto as Exhibit 53 is a true and correct copy of transcript excerpts
8              from the 30(b)(6) deposition of NFL witness Hans Schroeder, taken on July 28,
9              2022.
10        11. Attached hereto as Exhibit 54 is a true and correct copy of transcript excerpts
11             from the 30(b)(1) deposition of NFL witness Robert Kraft, taken on June 23,
12             2022.
13        12. Attached hereto as Exhibit 55 is a true and correct copy of transcript excerpts
14             from the 30(b)(1) deposition of DirectTV witness Michael White, taken on July
15             19, 2022.
16        13. Attached hereto as Exhibit 56 is a true and correct copy of transcript excerpts
17             from the 30(b)(1) deposition of DirectTV witness Robert Stecklow, taken on
18             September 23, 2022.
19        14. Attached hereto as Exhibit 57 is a true and correct copy of an email from Brian
20             Rolapp to Robert Kraft dated September 23, 2021 attaching a NFL presentation
21             titled “NFLST / Apple Update,” produced by the NFL with Bates number
22             NFL_1216326.
23        15. Attached hereto as Exhibit 58 is a true and correct copy of an email from Garrett
24             Breeden to Hans Schroeder dated December 24, 2021 attaching an NFL
25             document titled “Summary of NFL Retained Rights and Parameters,” produced
26             by the NFL with Bates number NFL_1222344.
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1         16. Attached hereto as Exhibit 59 is a true and correct copy of a DIRECTV billing
2              statement produced by Plaintiff Jonathan Frantz with the Bates number
3              FRANTZ_SUNDTIC_00000029.
4         17. Attached hereto as Exhibit 60 is a true and correct copy of transcript excerpts
5              from the deposition of Plaintiff Eugene Lennon, taken on July 19, 2022.
6         18. Attached hereto as Exhibit 61 is a true and correct copy of transcript excerpts
7              from the deposition of Plaintiff Robert Lippincott, taken on July 27, 2022.
8         19. Attached hereto as Exhibit 62 is a true and correct copy of transcript excerpts
9              from the deposition of Plaintiff Jason Baker, taken on July 15, 2022.
10        20. Attached hereto as Exhibit 63 is a true and correct copy of January 1954 NFL
11             Meeting Minutes, produced by the NFL with Bates number NFL_0507444.
12        21. Attached hereto as Exhibit 64 is a true and correct copy of Broadcast Rights,
13             Expansion Game Schedule on Tap at CFP Meetings, Sports Illustrated (Apr. 26,
14             2023), available at https://www.si.com/college/2023/04/26/college-football-
15             playoff-talks-tv-rights-expansion-2024-2025 (last accessed Sept. 25, 2023).
16        22. Attached hereto as Exhibit 65 is a true and correct copy of the merits expert report
17             prepared by NFL expert Amanda D. Lotz, dated April 28, 2023.
18        23. Attached hereto as Exhibit 66 is a true and correct copy of transcript excerpts
19             from the deposition of Plaintiff expert Leonard F. DeLuca, taken on June 30,
20             2023.
21        24. Attached hereto as Exhibit 67 is a true and correct copy of NFL TV Schedule and
22             Maps:         Weeks           14,   2015    Season,          506       Sports.com,            available            at
23             https://506sports.com/nfl.php?yr=2015&wk=14 (last accessed Sept. 26, 2023).
24        25. Attached hereto as Exhibit 68 is a true and correct copy of transcript excerpts
25             from the 30(b)(1) deposition of NFL witness Brian Rolapp, taken on May 18,
26             2022.
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                                                          Support of NFL Defendants’ Motion for Summary Judgment
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1         26. Attached hereto as Exhibit 69 is a true and correct copy of transcript excerpts
2              from the 30(b)(6) deposition of NBCUniversal witness David Pietrycha, taken
3              on August 16, 2022.
4         27. Attached hereto as Exhibit 70 is a true and correct copy of Meeting Minutes of
5              the January 17, 1960 Executive Session, produced by the NFL with Bates number
6              NFL_0507599.
7         28. Attached hereto as Exhibit 71 is a true and correct copy of Meeting Minutes of a
8              January 24, 1961 NFL Meeting produced by the NFL with Bates number
9              NFL_0507666.
10        29. Attached hereto as Exhibit 72 is a true and correct copy of NFL TV Schedule and
11             Maps:         Weeks           6,   2022   Season,          506        Sports.com,            available            at
12             https://506sports.com/nfl.php?yr=2022&wk=6 (last accessed Sept. 28, 2023).
13        30. Attached hereto as Exhibit 73 is a true and correct copy of transcript excerpts
14             from the 30(b)(1) deposition of DirectTV witness John Lauricella, taken on June
15             28, 2022.
16        31. Attached hereto as Exhibit 74 is a true and correct copy of a May 2018 NFL
17             PowerPoint titled “NFL / DirecTV Sunday Ticket Insights,” produced by the
18             NFL with Bates number NFL_0055733.
19        32. Attached hereto as Exhibit 75 is a true and correct copy of transcript excerpts
20             from the deposition of Plaintiff Jonathan Frantz, taken on June 28, 2022.
21        33. Attached hereto as Exhibit 76 is a true and correct copy of transcript excerpts
22             from the deposition of Plaintiff expert J. Douglas Zona, taken on October 13,
23             2022.
24        34. Attached hereto as Exhibit 77 is a true and correct copy of a March 2019 NFL
25             presentation titled “Fan Research Summary, Direct-to-Consumer Implications,”
26             produced by the NFL with Bates number NFL_0609532.
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                                                         Support of NFL Defendants’ Motion for Summary Judgment
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1         35. Attached hereto as Exhibit 78 is a true and correct copy of an NFL document
2              titled “NFL Core Objectives and Media Strategy,” produced by the NFL with the
3              Bates number NFL_0239782.
4         36. Attached hereto as Exhibit 79 is a true and correct copy of an August 21, 2017
5              NFL presentation titled “NFLN Programming Strategy Discussion,” produced by
6              the NFL with Bates number NFL_0725994.
7         37. Attached hereto as Exhibit 80 is a true and correct copy of transcript excerpts
8              from the 30(b)(1) deposition of NFL witness Hans Schroeder, taken on July 29,
9              2022.
10        38. Attached hereto as Exhibit 81 is a true and correct copy of transcript excerpts
11             from the 30(b)(1) deposition of NFL witness Roger Goodell, taken on June 16,
12             2022.
13

14        I declare under penalty of perjury under the laws of the United States of America
15     that the foregoing is true and correct.
16

17          EXECUTED on this 29th day of September 2023 in Washington, D.C.
18

19
       Dated: September 29, 2023                 Respectfully submitted,
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22                                               /s/ Rakesh N. Kilaru
                                                 Rakesh N. Kilaru (admitted pro hac vice)
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         Case No. 2:15-ml-02668-PSG (JEMx)        Declaration of Rakesh N. Kilaru in Support of the Reply Memorandum in
                                                  Support of NFL Defendants’ Motion for Summary Judgment
